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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG Recordings, Inc., et al.,

                                Plaintiffs,

       v.                                                 Civil Action No. 1:17-cv-00365-DAE

Grande Communications Networks, LLC,

                                Defendant.


               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL

       Notice is hereby given of the entry of the undersigned as additional counsel for Defendant

Grande Communications Networks, LLC in the above-entitled action. Pursuant to Fed. R. Civ. P.

5, all further notice and copies of pleadings, papers, and other material relevant to this action

should be directed to and served upon:

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 Dated: August 16, 2022                           Respectfully submitted,

                                                  /s/ J. Stephen Ravel
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                              CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF filing system on August 16, 2022.


                                           /s/ J. Stephen Ravel
                                           J. Stephen Ravel




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